 BAUER, Circuit Judge. Concurring. Attempts at defining reasonable doubt have always occasioned problems. Both “reasonable” and “doubt” are words in common usage and are constantly used in the language of law. No matter how glib the speaker, it is necessary to use other words that require further definition in trying to refíne the terms “reasonable” or “doubt.” The language used by this learned trial judge makes that point clearly. Illinois Pattern Instructions and the Seventh Circuit Criminal Instructions make this point emphatically. Judges and lawyers must accept the fact that we select jurors who presume to be reasonable and who understand through years of normal living what is meant by “doubt.” It is with a sore heart then, that I concur in the opinion. 